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                       UNITED STATES DISTRICT COURT
                  CENTRAL DISTRICT OF CALIFORNIA
                              EASTERN DIVISION



RALPH P.,                                 Case No. ED CV 19-00979-DFM

          Plaintiff,                      JUDGMENT

                         v.

ANDREW M. SAUL,
Commissioner of Social Security,

          Defendant.



      In accordance with the Memorandum Opinion and Order filed herewith,
      IT IS HEREBY ADJUDGED that the decision of the Commissioner of
Social Security is affirmed and this matter is dismissed with prejudice.



Date: May 6, 2020                           ___________________________
                                            DOUGLAS F. McCORMICK
                                            United States Magistrate Judge
